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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No: 21-cr-00392-RM

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1.     DANIEL STONEBARGER,

       Defendant.


                GOVERNMENT’S RESPONSE TO COURT ORDER
           REGARDING DEFENDANT’S CONTACT WITH LENDER 2 [Dkt. 43]


       On Friday, May 20, 2022, the Court directed the government to file “a brief

statement with the Court advising as to the date and means of communication by which

‘Lender 2 requested additional documentation to verify the applications ….’” [Dkt. 43

(quoting Dkt. 34 (Government’s Objections) at 5).] The government now responds as

follows:

       As detailed in the Plea Agreement, the defendant submitted two unsuccessful PPP

applications to Lender 2 on and around June 4 and 5, 2020, purportedly in support of his

business Finish Armor, LLC. [Dkt. 20 at 12.] The information he provided regarding the

business’ establishment date, annual revenue, monthly payroll costs, and number of

employees was not consistent between the two applications. [Id.] Moreover both

applications inflated this information substantially. [Id.] In response, “Lender 2 requested
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additional documentation to verify the applications, which the defendant did not provide.”

[Id.] The loan applications were denied.

       In response to the Court’s Order, the government has re-reviewed the

documentation provided by Lender 2 in relation to the defendant’s unsuccessful PPP

applications.1 As explained by counsel for Lender 2, “[I]nitial intake information is stored

by the Bank in the form of an entry in the Bank’s Salesforce system.”2 Lender 2 provided

two Salesforce documents detailing the history of each of the unsuccessful PPP loans.

[ZB_00000004-00000008; ZB_00000009-00000013.]

       As pertinent to the Court’s request, the first Salesforce document indicates a note

modified by Lender 2’s employee, M.H., under a line for “PPP Payroll support” that “Client

didn’t upload any payroll documents, have requested.” [See ZB_00000008.] The note is

undated, but the document indicates that the loan “opportunit[y]” was created on June 4,

2020 and closed on June 11, 2020. [Id.] The same document also indicates that another

employee of Lender 2, S.A., was associated with handling the loan application. [Id.]

       The second Salesforce document indicates that the second PPP application was

handled by S.A. [See ZB_00000013.] It indicates the loan opportunity was created on

June 5, 2020, and closed on June 12, 2020.3 [Id.] Apart from stating the “stage” of the




1      The documents referenced herein are referred to by Bates number and attached
as a single exhibit to this filing.
2      Salesforce is a third party cloud-based software provider that provides customer
relationship management software and applications to its clients.
3      A note in the same document indicates the file was last modified by another
employee of Lender 2, J.S., on June 24, 2020.


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application as “Closed Lost,” there is no further notation to indicate contact with the

defendant or the reasoning for the denial. [Id.]

       In addition to these documents, email documentation indicates that, on or around

July 8, 2022, the applications were flagged as potentially fraudulent and referred to

Lender 2’s compliance department. [See ZB_00000057-00000060.] The referral was

made by M.H., who holds the title of “Business Development Officer.” Along with basic

information regarding the defendant’s personal, business, and contact information, M.H.

provided the following notes:

       •   “Physical_Description1: Unknown – all communication has been done
           via email or phone.”4 [See ZB_00000058.]

       •   “Description_of_Unusual_Activity: Applicant of PPP loan (2
           applications) requesting $817,978 in PPP funds and to set up new
           deposit account. Suspect stated he opened in 12/2019 but SOS
           registration is 4/2020 and is reporting annual revenues of $8,000,000.
           The business address is a UPS store and the personal residence is
           owned by another individual and does not indicate it’s a rental property.
           Suspect’s claims of business need for PPP and busines[s] history
           indicate ineligibility and attempted fraud.” [See ZB_00000060.]

M.H. also responded “Yes,” to the form’s line for “Corrobative_Statement,” and provided

the following note:

       •   “Corroborative_Statement_Explain: Account officer requested utility
           statements and lease agreements to support personal and business
           addresses. Suspect has also refused to provide additional details
           supporting business revenue and PPP documentation, stating on 7/8
           that he will try and move the application through a different application
           source.” [See id.]




4      M.H. also listed the defendant’s personal address in this note.


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The document does not provide additional detail on the precise date and means of Lender

2’s communications with the defendant.

      On May 23, 2022, FBI Special Agent John Maglosky contacted M.H. by phone to

inquire whether any further information was available regarding “the date and means of

communication by which ‘Lender 2 requested additional documentation to verify the

applications.’” M.H. advised that all communication with the defendant would have been

either by email or phone, but she had no independent recollection regarding specific

details about these applications.



Dated this 23rd day of May, 2022.



                                              Respectfully submitted,


                                              COLE FINEGAN
                                              United States Attorney

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                              CERTIFICATE OF SERVICE

      I hereby certify that on May 23, 2022, I electronically filed the foregoing with the

Clerk of the Court using CM/ECF, which will send notification of such filing to counsel of

record.



                                         s/ Sarah H. Weiss________
                                         Sarah H. Weiss
                                         Martha A. Paluch
                                         Assistant United States Attorneys
                                         United States Attorney’s Office




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